18-10760-jlg    Doc 55     Filed 08/14/18    Entered 08/14/18 12:01:31        Main Document
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                                                                                       W. M. Greenwald




                                        August 14, 2018

Via ECF Filing, Email
and First Class Mail

Hon. James L. Garrity, Jr.
United States Bankruptcy Judge
United States Bankruptcy Court
Southern District of New York
One Bowling Green
New York, NY 10004

Re:    Status Letter
       Igor Eric Kuvykin, Debtor
       Chapter 11 Case No. 18-10760- JLG

Dear Judge Garrity:

       This firm represents the Debtor in the referenced case.

       The Debtor responded to Ipayment’s request for production of documents.

       The Debtor appeared for his examination by Ipayment on August 2, 2018. The Debtor
and Ipayment were the only parties attending.

       The Debtor awaits a copy of that examination’s transcript for his review.

      In Ipayment’s adversary proceeding against the Debtor, Ipayment has yet to file its
amended complaint. Ipayment has not required a response to the filed complaint as it is filing an
amended complaint.
W18-10760-jlg DocP.C.
 AYNE GREENWALD,   55         Filed 08/14/18    Entered 08/14/18 12:01:31     Main Document
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 Hon. James L. Garrity, Jr.
 August 14, 2018
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       The Debtor is unable to attend the status conference and hearing scheduled for August 21,
 2018. He has a prior family commitment which he cannot modify or be absent from.


                                                     Respectfully,

                                                     /s/ Wayne M. Greenwald

                                                     Wayne M. Greenwald
 WMG/ms
 cc: Serene Nakano, Esq. via email and ECF
     John D. Giampolo, Esq. via email and ECF
     Jil Mazer-Marino, Esq. via email and ECF
